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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

REBECCA FELDMAN,                            )
                                            )
                      PLAINTIFF,            )       CASE NO. 3:18-cv-01416-S
                                            )
       v.                                   )
                                            )
HOWMEDICA OSTEONICS                         )
CORPORATION d/b/a STRYKER                   )
ORTHOPAEDICS; AAP                           )
BIOMATERIALS GMBH; AAP                      )
IMPLANTATE AG; and                          )
AAP IMPLANTS, INC.,                         )
                                            )
                      DEFENDANTS.           )

                  JOINT STIPULATION OF DISMISSAL WITHOUT
            PREJUDICE OF AAP IMPLANTATE AG AND AAP IMPLANTS INC.

       Plaintiff Rebecca Feldman and Defendants aap Implantate AG and aap Implants, Inc., by

and through their respective undersigned counsel, pursuant to Rule 41(a)(1)(A)(ii) of the Federal

Rules of Civil Procedure, hereby stipulate to the dismissal without prejudice of Defendants aap

Implantate AG and aap Implants, Inc.

       Respectfully submitted this 18th day of September, 2018.

/s/ W. Roger Smith, III                                    /s/ Katherine S. Wright
W. Roger Smith, III                                        Katherine S. Wright
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                                                           aap Implants, Inc.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 18, 2018, I electronically filed the foregoing document

with the Clerk of the Court using the ECF system which will send notification of such filing to all

counsel of record.

                                                            /s/ W. Roger Smith, III
                                                            W. Roger Smith, III




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